                         Case 6:24-bk-03843-LVV                        Doc 121       Filed 06/02/25   Page 1 of 1
[Dntccnrh] [District Notice Cancelling or Rescheduling Hearing or Conference (BK)]
                                                 UNITED STATES BANKRUPTCY COURT
                                                    MIDDLE DISTRICT OF FLORIDA
                                                         ORLANDO DIVISION



In re:                                                                                      Case No. 6:24−bk−03843−LVV
                                                                                            Chapter 7

Chaim Levilev




________Debtor*________/

                                                     NOTICE OF CANCELLED HEARING


              NOTICE IS GIVEN THAT the hearing regarding status conference , originally scheduled for June
           17, 2025, has been cancelled.




                                                             FOR THE COURT
           Dated: June 2, 2025                               Jose A Rodriguez , Clerk of Court
                                                             George C. Young Federal Courthouse
                                                             400 West Washington Street
                                                             Suite 5100
                                                             Orlando, FL 32801


           The Clerk's office is directed to serve a copy of this notice on interested parties.



           *All references to "Debtor" shall include and refer to both debtors in a case filed jointly by two
           individuals.
